     Case 4:95-cr-00123-WTM-CLR Document 1013 Filed 06/11/07 Page 1 of 1




                    UNITED STATES DISTRICT COURT

                SOUTHERN DISTRICT OF GEORGIA

                         SAVANNAH DIVISION



KENNETH SANDERS ,

      Petitioner,

v.     )      Case                     No. CV407-32
                                         [Underlying CR495-123]
UNITED STATES OF AMERICA,          )

      Respondent.

                                ORDER

      After a careful de novo review of the record in this case, the Court

concurs with the Magistrate Judge's Report and Recommendation, to which

objections have been filed . Accordingly, the Report and Recommendation

of the Magistrate Judge is adopted as the opinion of the Court .

      SO ORDERED this l~day of =Z~/                           , 2007 .



                                   WILLIAM T . MOORE, JR ., CHIE4JUDGE
                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF GEORGIA
